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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

      v.                                     Criminal No. 21-cr-52 (TJK)

DOMINIC PEZZOLA,

                    Defendant.

                    MOTION FOR LEAVE TO WITHDRAW
                     AS ATTORNEY FOR DEFENDANT

      Comes now Jonathan Zucker, counsel for defendant Dominic Pezzola and

requests leave of court to withdraw as counsel. In support of this motion counsel

states that on February 3, 2021, undersigned counsel was appointed as CJA panel

counsel to represent defendant.

      Upon being notified by Martin H. Tankleff that he was being retained to

represent defendant, undersigned counsel made an oral request to withdraw. At

that time the court stated that it wanted undersigned counsel to continue

representation until new counsel entered an appearance. On April 13, 2021, Martin

H. Tankleff entered his appearance on behalf of defendant.

      WHEREFORE, undersigned counsel respectfully requests leave to withdraw

as counsel for defendant.
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                                              Respectfully submitted,


                                              __/s/_________________________
                                              Jonathan Zucker, #384629
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                                              Washington, DC 20002
                                              (202) 624-0784
                                              jonathanzuckerlaw@gmail.com

                                              Counsel for Defendant
                                              (Appointed by the Court)

                          CERTIFICATE OF SERVICE

       I certify that on this 14th day of April, 2021, the foregoing motion was filed
electronically using the court’s CM/ECF system that will serve all parties.


                                              __/s/____________________
                                              Jonathan Zucker
